CaSe 1218-0V-12244-TLL-P.T|\/| ECF NO. 20 filed 03/04/19 Page|D.BGS Page 1 Of 4

EXHIBIT I

c e 1: 3- v-1 4-TLL- l\/l Ecl= No. 20 filed 03/04/19 Pa elD.569 Pa ezof4
Q§ase i.l§-cv-?l§§M-TLL~PTM ECF No. 18 filed 02/28/19 PaggelD.514 Pagg 1 of 3

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHlGAN
NORTHERN DIVISION

MATTHEW SZAPPAN,

Plaintiff, CASE NO.: 18-cv-12244

HON. THOMAS L. LUDINGTON
V.

TROY MEDER, MARK GARABELLI,
DEPUTY SHIELDS, SAGINAW COUNTY,

 

Defendants.
ISSA G. HADDAD (P716990] AUDREY ]. FORBUSH (P41744]
HADDAD LAW FIRM, PLC PLUNKETT COONEY
Attorney for Plaintiff Attorney for Defenclants Saginaw

30600 Telegraph Road - Suite 3150 County, Garabelli and Shields
Bingham Farms, MI 48025-4550 Plaza One Financial Center'

[248) 633-8500 111 E. Court Street - Suite lB
is§a@_haddlaw.com Flint, MI 48502

(810) 342-7014
]OHN G. FEDYNSKY (P65232] (810) 232-3159 - fax

STATE OF MICHlGAN ATTORNEY aforbu§h@plgnkettcooney.com
GENERAL’S OFFlCE, ClVlL
LITIGATIGN, EMPLGYMENT &
ELECTIONS DlVISlON

Attorney for Defendant Meder

P.O. Box 30736

525 W. Ottawa Street

Lansing, Ml 48909

(517) 373-6434

(517] 373-2454- - fax

fed sk ‘ i hi an. 0v

 

Case 1:18-cv-12244-TLL-PTI\/| ECF No. 20 filed 03/04/19 PagelD.B?O Page 3 of 4
Case 1:18-cv-12244-TLL-PT|\/| ECF No. 18 filed 02/28/19 PagelD.515 Page 2 of 3

STIPULATED ORDER TO EXTEND TIME FOR PLAlNTlFF'S RESPONSE
TO DEFENDA T A COUNTY

§§ARABELLI AND SHlELDS DISCOVERY REQUESTS
Pursuant to the parties' stipulation, as shown by the signatures of
counse\, the Court enters the following Order:
1. That Plaintiff's responses to Defendants Saginaw County, Garabelli
and Shields Discovery Requests dated October 9, 2018 shall be extended to
March 1, 2019.

IT IS SO ORDERED.

s/Thomas l_,. Ludington
THOMAS L. LUDINGTON

United States District Judge

Dated: February 28, 2019

AGREED AS TO FORM AND SUBSTANCE:

s Alannahl\/I B f 1‘ -K merman
AUDREY ]. FORBUSH [P41744)

ALANNAH M. BUFORD-KAMERMAN (P81221]
PLUNKETT COONEY

Attorney for Defendants Saginaw County,
Garabelli and Shields

Plaza One Financial Center

111 E. Court Street - Suite 1B

Flint, MI 48502

(810] 342-7014

(810] 232-3159 - fax

aforbush@plunkettcooney,c¢)m
abuford@plunkettcooney.com

CaSe 1:18-CV-12244-TLL-PTi\/| ECF NO. 20 filed 03/04/19 Page|D.B?l Page 4 Of 4
Case 1:18-cv-12244-TLL-PTM ECF No. 18 filed 02/28/19 Page|D.SlB Page 3 of 3

Zs[ Issa G. Haddad iw[permissionl
iSSA G. HADDAD (P71699]

HADDAD LAW FIRM, PLC
Attorney for Plaintiff

30600 Telegraph Road - Suite 3150
Bingham Farms, Ml 48025-4550
(248) 633-8500
issa@haddlaw.com

